Case 9:21-cr-80126-RAR Document 3 Entered on FLSD Docket 08/26/2021 Page 1 of KS
                                                                              5


                                                                                               Aug 25, 2021

                              UN ITED STATES DISTRICT CO UR T
                              SOU TH ERN DISTRICT OF FLOR IDA
                        21-80126-CR-RUIZ/REINHART
                              CASE N O.
                                           18U.S.C.j1956(a)(3)@ )
                                           18U.S.C.j982(a)(1)
   U M TED STA TES 0# AM ER ICA

   5% .

   FR AN CISC O JA W ER GU EIO          TOR RES,

                 D efendant.
                                                     /

                                           IND ICTM ENT

          The Grand Jtlty chargesthat:

                                            CO UNT 1-3
                                         M oney Laundering
                                     (18U.S.C.j1956(a)(3)(B))
          On or about tlte dates setforth below as to each count,in Palm B each Couttty,in the

   Southelm DistzictofFlorida,andelsewhere,thedefendant,

                           FR AN CISCO JAW ER GUERR A T ORNE S,

  with the intent to conceal and d sguise the nature,location, source, ownerslzip and contw l of

  pzopel'ty believed to be the proceeds of specified unlawftzl activity,did lm ow ingly condud a

  fm ancialtransaction affecting interstate alld foreign com m erce involvl g propel'ty represented by

  alaw enforcem entoffcerto beproceedsofaspecifedlmlawftzlactivil ,thatis,gaudinthesale
  ofsecudties:
Case 9:21-cr-80126-RAR Document 3 Entered on FLSD Docket 08/26/2021 Page 2 of 5




    Count Approx.D ate Am ount                            FinandalTransaction
          ofFinancial
          Transaction
       1         1/22/21     $246,250 W iretransferâom CapstarBank Account# 5002168to
                                             Bank ofAmericaAccoulzt#                   X9016
      2         1/29/21      $246,250 W iretransferâom CapstarBankAccount# 5002168to
                                             Bank ofAm ericaAccotmt#                   X9016
      3          2/8/21      $246,250 W ire'
                                           transferfrom CapstarBank Account# 5002168to
                                             Brmk ofAm ericaAccount#*X77X:-.
                                                                           %-X'
                                                                              * X-X'X'
                                                                                     9016

           J.
            nviolationofTitle18,UnitedStatesCode,Sections1956(a)(3)(B)and2.
                                 FORFEITURE AT,LEGATIONS
                 The allegations ofthis Indictm entare herçby re-alleged arzd by thisreference fully

   incop oratedhereinforthepmposeofallegingforfeituretotheUlziiedStatesofAmericaofcertaz

   property in w hich the defendant,FR AN CISCO JAV V R G UERR A T OQR ES,hasan interest.

                 Upon conviction of a violation ofTitle 18,Urlited States Code,Section 1956,as

   atleged in this h dictm ent,the defendantshallforfeitto the United States any propel'ty,real or

   personal,involved illsuch offense,and any property traceable to such property,pursuantto Title

   18,UnitedStatesCode,Section982(a)(1).
           A1lpursuan.
                     ttoTitle18,UaitedStatesCode,Section982(a)(1),an.
                                                                    dtheproceduressetforf,
                                                                                         h
Case 9:21-cr-80126-RAR Document 3 Entered on FLSD Docket 08/26/2021 Page 3 of 5




   in Title 21,United States Code,Section 853,asincorporated by Title 18,Urlited States Code,

   Seotion982($(1).
                                           A TRUE BILL



                                           FO       RSON

           zrbx
   JU AN TON IO G ON ZALEZ
   A CTIN G U M TED STA TES A TTORNEY



         D ISPOTO
   ASSISTAN T U NITED STATES A TTORNEY




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                                            IN TED STATESDISTRICT COURT
                                            SOUTH ERN DISTRIG OF FLORD A

  V TED STATESOFW             W CA                     CASENO.
   V.
   FM NCISCO JAVIER GUERRA TORRES,                     CERTIFICATE O F TRIAL ATTORNEY#
                                                       Superseding CaseIuformation:
                Defendant.                   /
     Com'tDivision:tselectOne)                         Ncwdefenchmtts) I --IYes 1-1No
    N Miami H lteyWest N FI'   L                       Nllmberofnewdefendants
    rz-lWPB r-lFTP                                     Totalntlmberofcoutlts
        1.1havecarefullyconsideredtheallegationsoftheindictment,thenumberofdefendants,thenumberofprohble
          witnessesandthelegalcomplexitiesofthelndictment/lnformation attachedhereto.
        2,lam awarethattheinformation supplied on thisstatementwillberelieduponby 1heJudgesofthisCourtin
          settingtheircalendarsandscheduling criminaltrialsunderthemandateoftheSpeedy TrialAct,
          Title28U.S.C.Section3161.
        3.lnterpreter:(YesorNo) No
          Listlanguageand/ordialect
        4.'
          Thiscasewilltake 3 daysforthepartiestotry.
        5.Pleasecheck appropriatecategoryandtypeofoffenselistedbelow:
             (Cheokonlyone)                           (Checkonlyone)
         1 0to5days              Iz                   Petty               I7I
         11 6to10days            (71                  Minor               E1
         I11 11to20days          E-j                  Misdemeanor         ID
         IV 21to60days           E7I                  Felony              Edl
         V 61daysandover         (71
        6.HasthiscasepreviouslybeentiledinthisDistrictCoul't? (Yeso1'No) NO
           Ifyes:Judge                                 CaseNo.
           (Attachcopyofdispositiveorder)
           Hasacomplaintbeenfiledinthismatter? (YesorNo)No
           Ifyes:M agistrateCaseNo.
           Relatedm iscellaneousnllmbers:
           Defendantts)infederalcustodyasof
           Defendantts)instatecustodya.
                                      sof
           Rule20 from theDistrictof
           lstllisapotentialdeathpenaltycase?(YesorNo) No
        7.Doesthiscase originatefrom am atterpending in theCentralRegion oftheU.S.Attorney'sOffice priorto
           August9,2013(M ag.JudgeAlicia0.Valle)?(Yeso1'No) No
        8.Doesthiscase originatefrom amatlerpendingintheN orthern Region oftheU,S.Attorney'sOfficepriorto
           August8,2014(M ag,JudgeShaniekMaynard?(YesorNo) No              .
        9.Doesthiscase originatefrom am atterpending intheCentralRegion oftheU.S.Attorney'
                                                                                         sOfficepriorto
           October3,2019(Mag.JudgeJaredStrauss)?(YesorNo) No


                                                                            & ' fa
                                                                   M ark Dispoto
                                                                   AssistantUnited States Attorney
                                                                   Coud ID No.      A5501143
*penaltySheetts)attachal                                                                             REV 3/19/21
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                            UM TED STATESDISTRICT COURT
                            SOU TIIERN DISTRICT OF FLO RIDA

                                      PENM TY SHEET

   DefendantfsN am e: FR AN CISCO JA VIER G UERR A TORRE S

   Counts1-3:



             Title18sUnitedStatesCgde.Section 1956(a)(3)(B)
   *M ax.Penalty:      20years'imprisonment;5yearssuperdsedrelease;$250,000'sne




   *R efersonly topossibleterm ofincarceration,fine)and supervised releaseterm ,but does
   notincludepossiblerestitution,specialassessm ents,or forfeitures thatm ay be applicable.
